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AO 451 (Rev. 01/09) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the
Southern District of New York

SECURITIES AND EXCHANGE COMMISSION

Plaintiff

PETER ROOR, ET AL. (RONALD L. TEMPLIN)

)
)
v. ) Civil Action No. 99 CV 3372 (LAP)
)
)

Defendant

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) 06/20/2014

| also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court and that no appeal has been filed or, if one was filed, that it is no longer pending.

CLERK OF COURT L
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION, 99 CV 3372 (HB)

Plaintiff, |
USDS SDNY
~ against - : || DOCUMENT
PETER ROOR (actually PIETER ROOR), individually and d/b/a | |{ELECTRONICALLY FILED
Oxford Savings Club, Ltd. and Manumit Unlimited, RONALD L. | DOC #: wll
TEMPLIN, individually and d/b/a American Leadership Network, : DATE FILED: (/26 Ay
Saratoga Holdings LLC, Secured Private Placements, The 650 ee

Club, Internet Marketing Partners, and Private Party Loan
Program, and LAURIE ELIZABETH WEISS,

Defendants. :

[PROPOSED] FINAL JUDGMENT
AGAINST DEFENDANT RONALD L. TEMPLIN

WHEREAS, on August 29, 2004 the Court (Hon. Harold Baer) rendered an “Opinion &
Order” (Dkt. No. 95), entered by the Clerk on August 31, 2004 (the “Opinion & Order”). The
Opinion & Order stated, in part:

For the following reasons, the SEC’s motion for summary judgment
against defendants Roor and Templin is granted. Roor and Templin are
permanently enjoined from violating the federal securities laws. Roor is ordered
to disgorge $1 million and Templin is ordered to disgorge $1,502,265.04.
However, if he so desires, Templin may submit further evidence of the exact
amount of Sandra Templin’s payroll deposits into the checking account jointly
held by the Templins at First National Bank & Trust within 10 days of the date
hereof and, should Templin avail himself of this opportunity, the SEC will have
10 days to respond and the Court will consider a reduction to the amount of
Templin’s disgorgement. The Clerk of the Court will calculate pre-judgment
interest on the disgorged amounts using the IRS rate for underpaid taxes. The
assets ordered frozen on June 7, 1999 are to be turned over to the SEC with all
accumulated interest in satisfaction of the amount of disgorgement. Should the
interest exceed the Clerk’s calculation it will be refunded to the defendants. Roor
is further ordered to pay a $100,000 civil penalty. The SEC will provide the
Court with a stipulation of settlement or voluntary dismissal with respect to the
remaining defendant, Laurie Elizabeth Weiss, or be trial-ready within 30 days of
the date hereof. The Clerk of the Court is instructed to close this motion;
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and

WHEREAS, no separate judgment was ever entered on the Opinion & Order as required
by Rule 58 of the Federal Rules of Civil Procedure; and

WHEREAS, the plaintiff Securities and Exchange Commission (the “Commission”)
moved for the entry of a formal judgment against the defendant Ronald L. Templin (“Templin”),
and the Court (Hon. Harold Baer) heard the parties at a telephonic conference on May 9, 2014;
and

WHEREAS, at such telephonic conference the Commission and Templin agreed on the
terms of such formal judgment, but Judge Baer died before the parties submitted the formal
judgment to him; and

WHEREAS, the Commission and Templin have agreed upon the terms of such formal
judgment and have stipulated that any Judge of this Court may enter such formal judgment, it is
hereby:

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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant Ronald
L. Templin and Defendant’s agents, servants, employees, attorneys, and all persons in active
concert or participation with them who receive actual notice of this Final Judgment by personal
service or otherwise are permanently restrained and enjoined from violating, directly or
indirectly, Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15
U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any
means or instrumentality of interstate commerce, or of the mails, or of any facility of any
national securities exchange, in connection with the purchase or sale of any security:

(a) to employ any device, scheme, or artifice to defraud;
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(b)

(c)

to make any untrue statement of a material fact or to omit to state a material fact
necessary in order to make the statements made, in the light of the circumstances
under which they were made, not misleading; or

to engage in any act, practice, or course of business which operates or would
operate as a fraud or deceit upon any person.

IL.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant Ronald L. Templin and Defendant’s agents, servants, employees, attorneys, and all

persons in active concert or participation with them who receive actual notice of this Final

Judgment by personal service or otherwise are permanently restrained and enjoined from

violating Section 17(a) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)]

in the offer or sale of any security by the use of any means or instruments of transportation or

communication in interstate commerce or by use of the mails, directly or indirectly:

(a)
(b)

(c)

to employ any device, scheme, or artifice to defraud;

to obtain money or property by means of any untrue statement of a material fact
or any omission of a material fact necessary in order to make the statements
made, in light of the circumstances under which they were made, not misleading;
or

to engage in any transaction, practice, or course of business which operates or
would operate as a fraud or deceit upon the purchaser.

Il.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant Ronald

L. Templin is liable for disgorgement of $1,502,265.04, representing profits gained as a result of

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the conduct alleged in the Complaint. No prejudgment interest shall be imposed thereon. The
Defendant shall receive credit for amounts paid to date in the amount of $723,565.63, leaving a
balance due of $778,699.41. No civil penalty is imposed on Defendant. Defendant shall satisfy
this obligation by paying $778,699.41 to the Securities and Exchange Commission within 14
days of the entry of this Final Judgment, subject to the provisions in Paragraph IV below.

Defendant may transmit payment electronically to the Commission, which will provide
detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly
from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

cashier’s check, or United States postal money order payable to the Securities and Exchange
Commission, which shall be delivered or mailed to

Enterprise Services Center

Accounts Receivable Branch

6500 South MacArthur Boulevard
Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of
this Court; Ronald L. Templin as a defendant in this action; and specifying that payment is made
pursuant to this Final Judgment.

Defendant shall simultaneously transmit photocopies of evidence of payment and case
identifying information to the Commission’s counsel in this action. By making this payment,
Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part
of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant
to this Final Judgment to the United States Treasury.

Defendant shall pay post judgment interest on any delinquent amounts pursuant to 28

U.S.C. § 1961 from the date of entry of this Final Judgment.

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IV.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED, pursuant to the

equitable powers of this Court and pursuant to New York Civil Practice Law and Rules 5240,

applicable by reason of Rule 69(a) of the Federal Rules of Civil Procedure, that based upon the

delay in the entry of this Final Judgment and based upon the financial condition and the health of

the Defendant Ronald L. Templin, that the remedies available to enforce the disgorgement

obligation of the Defendant be limited as follows:

A.

The Commission may not enforce such disgorgement obligation by the use of
civil contempt proceedings. -

The Commission may register this Final Judgment in the Southern District of
Indiana and may place a judgment lien on real property owned by the Defendant
in Kokomo, Indiana to enforce such disgorgement obligation. The Commission
may not take any action to foreclose or to otherwise enforce this judgment lien
until the earlier of (i) the Defendant’s death or (ii) the sale or attempted sale of the
property by the Defendant.

The Commission may not enforce such disgorgement obligation by execution,
levy, or garnishment against any property of the Defendant.

The Commission may not enforce such disgorgement obligation by offset against
any veteran’s benefits, disability benefits, or social security benefits payable to

the Defendant pursuant to the Treasury Offset Program.

The Court may modify the foregoing upon motion by the Commission or by the Defendant for

good cause shown.
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IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall
retain jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.
VI.
There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.

ili rte Eau,

UNITED STATES DISTRICT JUDGE

Dated: New York, New York
, 2014

The undersigned agree that the above accurately reflects the full and complete terms of the
agreement reached between them in a telephonic conference with Judge Harold Baer on May 9,

2014:

cs oe ee Dated: New York, New York
On ee eae June 4, 2014
Attgtaty for Plaintiff

Securities and Exchange Commission

Konalt a : Lop’ Dated: Kokomo, Indiana

RONALD L. TEMPLIN June S , 2014
Defendant Pro Se

THIS DOCUMENT WAS EN

ACER )

RUBY J. MICK, CLER Kase

Deputy Clerk

BY

